

Vitullo v New York Cent. Mut. Fire Ins. Co. (2017 NY Slip Op 05400)





Vitullo v New York Cent. Mut. Fire Ins. Co.


2017 NY Slip Op 05400


Decided on June 30, 2017


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on June 30, 2017

PRESENT: CARNI, J.P., LINDLEY, DEJOSEPH, TROUTMAN, AND SCUDDER, JJ. (Filed June 30, 2017.) 


MOTION NO. (330/17) CA 16-01568.

[*1]ANITA A. VITULLO, PLAINTIFF-APPELLANT, 
vNEW YORK CENTRAL MUTUAL FIRE INSURANCE COMPANY, DEFENDANT-RESPONDENT. (APPEAL NO. 2.)



MEMORANDUM AND ORDER
Motion for reargument or leave to appeal to the Court of Appeals denied.








